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IN THE UNI'I`ED STATES DISTRICT C()URT
F(`)R THE DISTRICT OF ALASKA

CARR GOTTSTEIN PROPER'I`IES, L.P.,
an Alaska limited partnership,

)
)
)
Plaintiff, )
V. )
SERI'I`AGE GROWTH PROPERTIES, L.P., )
a Delaware limited partnership, )
SERITAGE GR()WTH PROPERTIES, )
a Maryland investment trust, ) Case No. 31 15-cv-00100-RRB
SEARS, ROEBUCK and C()., )
a New York corporation, and )
SEARS HOLDING CORPORATION, )
a Delaware corporation, )
)
)
)
)

Defendants

MOTION TO DISMISS

 

I)efendants Sears, Roebuck and Co. (“Sears”), Sears Holding Corporation, and
Seritage Grovvth Properties, L.P., Seritage Growth Properties (the Seritage entities

collectively “Seritage”), by and through counsel, submit this memorandum of law in

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support of their motion to dismiss the Complaint pursuant to Federal Rule of Civil
Procedure 12(b)(6).
I. INTRODUCTION

All of plaintiffs claims rest on the mistaken premise that the sale and leaseback of
the Sears Store at the Mall at Sears in Anchorage (along with hundreds of other
properties owned by Searsl) will somehow result in a violation of the Declaration that
governs the relationship between the parties with regard to the property on which the
Mall at Sears is located (the “Declaration”, a copy of which is attached as Exhibit B to
the Complaint). Specifically, the complaint alleges that the proposed transaction will
result in a lease-back of the property to Sears Holding Corporation under the terms of a
Master Lease that gives Seritage Growth Properties the right to “recapture” certain
portions of the property and then reconfigure and lease those portions to other tenants.

The complaint speculates that this right to recapture, reconfigure and lease
portions of the property could result in actions that would violate the terms of the
Declaration. The complaint bases this speculation that Seritage would violate the terms
of the Declaration on an allegation that Sears, a different entity, violated the terms of the
Declaration in the past. 'l`he plaintiff does not allege that the proposed transaction it
seeks to enjoin would itself violate the Declaration or any other agreements that govern
the relationship between it and the defendants _ it alleges only that the proposed
transaction grants Seritage rights that Luld theoretically be used in a way that would

violate the Declaration if Seritage disregarded the requirements of the recorded

 

l Complaint, Paragraph 5.

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Declaration. As such, the plaintiff supplies no facts that could state a claim for relief that
is plausible on its face, as required by Bell Az‘l Corp. v. Twombly, 127 S.Ct. 1955 (2007)
and its progeny, and the complaint should be dismissed under Fed. R. Civ. P. lZ(b)(6).

Moreover, the plaintiffs allegations that the earlier actions of Sears violated the
Declaration are irrelevant to the allegations about the potential future actions of Seritage.
Thus even the premise on which plaintiff relies in speculating that Seritage would use its
lease rights in a way that would violate the Declaration is irrelevant, resulting in an
argument that is doubly defective

Finally, Anchorage Shopping Center, LLC, a Delaware LLC, ("ASC"), not Carr
Gottstein Properties, L.P., appears on the face of the documents provided by the plaintiff
to be the real party in interest. The plaintiff should be required to provide documentation
of its status, if it is somehow the successor in interest to ASC, or to join or substitute ASC
as plaintiff, or have the complaint dismissed under FRCP l7(a)(3).

II. FACTS

The Mall at Sears (the “Mall”) is a shopping center connected to a Sears store (the
“Sears Store”) as an anchor on the east side of the shopping center. The Mall consists of
a Safeway store as an anchor on the west side, and an enclosed mall with a number of
smaller establishments between the two anchor stores. Sears leased the real property on
which the Safeway store and Mall are located to a developer in 1966 for development of
a mall (the “Lease”)Z. ASC is the successor lessee to the developer under the ground

lease. The Indenture of Lease is attached as Exhibit A to the Complaint, and the second

 

2 Complaint, Paragraph l.

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and third amendments to the Lease are attached as Exhibits D and E. Carr-Gottstein
Properties, L.P. ("Carr Gottstein"), the plaintiff in this action, has acted on behalf of ASC
in communications with Sears (Complaint, 1111 26-31), but there is no indication that the
plaintiff has succeeded to ASC’s interest in the property.

In 2001, Sears and ASC entered into the Third Amendment to the Lease, granting
ASC the right to expand the Safeway store at the west end of the Mall, and granting Sears
the right to expand its store. Complaint, 11 26. Sears has recently subleased certain space
in the Sears premises to Nordstrom Rack, with a small expansion for a loading dock. lt
has now completed the improvements for the sublease to Nordstrom Rack.

ln 2015, in a completely separate transaction, Sears entered into a sale/leaseback
transaction for hundreds of its properties across the country, of which one was the Sears
Store in Anchorage. That transaction has now closed.

III. ANALYSIS

l. The Complaint fails to state a claim upon which relief may be granted

'l`o survive a Rule 12(b)(6) motion, a complaint must allege “enough facts to state
a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 127 S.Ct. 1955,
1974 (2007). “[A] complaint [that] pleads facts that are ‘merely consistent with’ a
defendant’s liability stops short of the line between possibility and plausibility of
entitlement to relief.’” Ashcrofl v. Iqbal, 129 S.Ct. 1937 (2009) (quoting Twombly, 550
U.S. at 557). Although a court must accept factual allegations contained in the complaint
as true, the court should not assume the truth of plaintiff s legal conclusions Id.
“Threadbare recitals of the elements of a cause of action, supported by mere conclusory
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statements, do not suffice.” Id. (quoting Twombly, 550 U.S. at 555). “While legal
conclusions can provide the framework for a complaint, they must be supported by
factual allegations.” Id.

In this case, the Complaint does not even allege that the proposed transaction
would violate the plaintiffs rights, much less make factual allegations to support the
legal claims. The Complaint states “CGP brings this action for injunctive and
declaratory relief to prevent SHC, Sears and Seritage from entering into any agreements
that purport to confer rights which, if exercised, would violate the Declaration...”
Complaint, 11 9 (emphasis added). There is no allegation that the proposed transaction or
Master Lease would itself violate any agreement between plaintiff and any of the
defendants, or require Seritage to violate any agreement in the future.

There is no question the property conveyed in the sale/leaseback transaction is
subject to the recorded Declaration. Any actions by Seritage to recapture space in the
Sears store adjacent to the Mall at Sears, and reconflgure and re-lease such space, would
have to be taken in conformance with the Declaration. All the plaintiff does is speculate
that Seritage might exercise its recapture rights in a way that would violate the
Declaration. Such speculation is patently insufficient to form the basis for a sustainable
claim.

Dismissal is required under Fed. R. Civ. P. 12(b)(6) where “plaintiff can prove no
set of facts in support of his claim which would entitle him to relief.” Van Buskirk v.
Cable News Nerwork, Inc., 284 F.3d 977, 980 (9th Cir. 2002). In other words, where the

allegations of the complaint itself demonstrate that plaintiff does not have a claim,

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dismissal under Rule 12(b)(6) is warranted Sinaloa Lake ()wners Ass ’n v. Cily of Sz`mi
Valley_, 864 F.2d 1475, 1478 (9th Cir. 1989). ln evaluating whether a complaint is
sufficient under Rule 12(b)(6)_, “conclusory allegations of law and unwarranted
inferences are insufficient to defeat a motion to dismiss for failure to state a claim.”
Arpl`n v. Scmta Cla'ra Valley Transp. Agency, 261 F.3d 912, 923 (9th Cir. 2001). Without
any allegation of an existing violation of the Declaration or any other agreement, the
Complaint lacks any set of facts on which a sustainable complaint can be based.

2. Plaintiff incorrectly bases its speculation on allegations Sears violated the
Declaration on a previous occasion.

Plaintiff claims that Sears, in subleasing space in its store to Nordstrom Rack or
improvements, violated the Declaration. Sears’ position is that the lease and
improvements were in conformance with the Declaration, as amended. However, the
allegation is totally a red herring and irrelevant to the claims in the complaint. Whether
the loading dock added by Sears for the Nordstrom Rack improvements violated the
declaration or not, it would be complete speculation and an “unwarranted inference” to
conclude that conduct by Sears would somehow inevitably predict what Seritage would
do under the sale-leaseback arrangement Id at 923.

The plaintiffs allegations that Sears previously violated the Declaration is
therefore completely irrelevant, and a determination of this fact is not necessary to show

that the plaintiffs complaint fails to state a claim.

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3. The Complaint fails to identify what standing the Plaintiff has to bring the
Complaint,

'fhe Third Amendment to the Lease (Exhibit E to the Complaint), between Sears
and ASC, identifies ASC as the successor lessee under the Lease. The plaintiff has
identified itself as the successor in interest to Carr Gottstein Properties, an Alaska general
partnership, the successor in interest to Carr’s Food Center, Inc., an Alaska corporation,
and J.B. Gottstein and Company lncorporated, an Alaska corporation Complaint, 11 11.
Carr’s Food Center, Inc. and J.B. Gottstein and Company Incorporated were the initial
parties to the Declaration and the Lease. Plaintiff has not identified itself as a successor
in interest to ASC, or indicated any other manner in which it has succeeded to the
interests of ASC under the Lease.

Even accepting the allegations of the Complaint as true, for purposes of this
motion, the Complaint alleges no facts which would give plaintiff standing to bring the
claims it has alleged in the Complaint, lt appears, from the communications between the
parties, that plaintiff may be the managing member of ASC. Whether or not this is true,
ASC appears on the face of the documents provided by the plaintiff to be the real party in

interest.

IV. CONCLUSION
Because the claims in the plaintiff s complaint are based entirely on speculation
about the possible future actions of Seritage, the complaint fails to state a claim upon

which relief may be granted. Furthermore, the plaintiff s allegations that Sears

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previously violated the Declaration are irrelevant Defendants therefore ask that the

Complaint be dismissed with prejudice. The Defendants further request that the Court

require the plaintiff under Rule 17(a)(3) to document how it is the real party in interest, or

to join or substitute ASC as the plaintiff, so that the plaintiff, in whatever corporate form

it chooses to portray itself, is precluded from bringing the same claims in a future action.

DATED this 27‘*‘ day OfJuiy, 2015.

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Co., and Sears Holding Corporation

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CERTIFICA'I`E OF SERVICE

l certify that on July 27th , 2015, a true and correct copy of this
document was filed with the Court via ECF/CMS, that to the best
of counsel’s knowledge the attorneys for the plaintiffs are registered
with ECF, and that as an additional safeguard a copy was emailed
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